10/16/24, 6:03 PM    Case 3:24-mc-80266-JCSCM/ECF
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                                                                                  District of New Jersey


    09/03/2024            70 TEXT ORDER: The Court has reviewed the parties' August 30, 2024 status report [D.E.
                             69]. Defendant is directed to continue to search for the mobile telephone. On or before
                             September 10, 2024, Defendant shall provide an updated status report concerning the
                             mobile telephone. If the mobile telephone is not located, the status report shall include a
                             declaration by Mr. Danis that describes in detail: (1) all efforts undertaken to search for
                             the phone and, if more than one person looked for the phone, the specific efforts by each
                             such person to locate it, (2) the last time Mr. Danis remembers having the phone, (3) the
                             location where Mr. Danis typically kept or stored the phone, (4) Mr. Danis's best
                             recollection of what he did with the phone the last time he remembers having possession
                             of it, and (5) Mr. Danis's best understanding of what happened to the phone. So Ordered
                             by Magistrate Judge Michael A. Hammer on 9/3/2024. (Hammer, Michael) (Entered:
                             09/03/2024)




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